









Affirmed and Opinion filed November 27, 2002









Affirmed and Opinion filed November 27, 2002.

&nbsp;




 
  
  
  &nbsp;
  
  
 




&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-02-00478-CR

____________

&nbsp;

BARTLETT LEE ANDREWS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 208th District Court

Harris County, Texas

Trial
Court Cause No. 854,268

&nbsp;



&nbsp;

O
P I N I O N

Appellant entered a plea of guilty to the offense of burglary
of a habitation with intent to commit theft, and he elected to have a jury
assess punishment.&nbsp; On May 9, 2002, the
jury found both enhancement paragraphs in the indictment true, assessed punishment
at confinement for sixty years, and the court sentenced appellant to
confinement for sixty years in the Institutional Division of the Texas
Department of Criminal Justice.&nbsp;
Appellant filed a pro se notice of appeal.








Appellant's appointed counsel filed a brief in which he
concludes that the appeal is wholly frivolous and without merit.&nbsp; The brief meets the requirements of Anders
v. California, 386 U.S. 738, 87 S.Ct. 1396
(1967), by presenting a professional evaluation of the record demonstrating why
there are no arguable grounds to be advanced.&nbsp;
See High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and file a pro se response.&nbsp; See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim.
App. 1991).&nbsp; As of this date, no pro se
response has been filed.

We have carefully reviewed the record and counsel=s brief and agree that the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed November 27, 2002.

Panel consists of Chief Justice Brister and Justices Hudson and Fowler.

Do not publish C Tex. R.
App. P. 47.3(b).&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 





